Case 1:21-cr-00040-TNM Document 729 Filed 11/03/23 Page 1 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

District of Columbia
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. )
STEVEN CAPPUCCIO Case Number: 21-cr-40-8 (TNM)
USM Number: 59284-509
) Marina Thais Douenat
) Defendant’s Attorney

THE DEFENDANT:
C1 pleaded guilty to count(s)

C1 pleaded nolo contendere to count(s)
which was accepted by the court.

Vj was found guilty on count(s) 28s, 29s, 30s, 35s, 42s, 50s, 53s of the Fifth Superseding Indictment filed on 42/1/2021
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 USC 111(a)(1) and 2 Assaulting, Resisting, or Impeding Certain Officers and 1/6/2021 28s
Aiding and Abetting
48USC111(a)(1) and (b) | Assaulting, Resisting, or Impeding Certain Officers Using a 4/6/2021 29s
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
M1 The defendant has been found not guilty on count(s) 34s, 52s

CJ Count(s) C is Care dismissed on the motion of the United States.

_, It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/3/2023

Date of Imposition of Judgment

Signature of Judge

Trevor N. McFadden, U.S. District Judge
Name and Title of Judge

| s}zz

Date
Case 1:21-cr-00040-TNM Document 729 Filed 11/03/23 Page 2 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 1A

Judgment—Page 2 of

DEFENDANT: STEVEN CAPPUCCIO
CASE NUMBER: 21-cr-40-8 (TNM)

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
Dangerous Weapon
18 U.S.C. 2111 and 2 Robbery and Aiding and Abetting 1/6/2023 30s
18 U.S.C. 231(a)(3) Civil Disorder 4/6/2021 35s
18 USC 1752(a)(2) and Disorderly and Disruptive Conduct in a Restricted 1/6/2021 42s
(b)(1)(A) Building or Grounds with a Deadly or Dangerous
Weapon
18 USC 1752(a)(4) and Engaging in Physical Violence in a Restricted Building 1/6/2021 50s
(b)(1)(A) or Grounds with a Deadly or Dangerous Weapon
40 USC 5104(e)(2)(F), Act of Physical Violence in a Capitol Grounds or 1/6/2021 53s

18:2 Buildings
Case 1:21-cr-00040-TNM Document 729 Filed 11/03/23 Page 3 of 8

AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 3 of 8

DEFENDANT: STEVEN CAPPUCCIO
CASE NUMBER: 21-cr-40-8 (TNM)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a

total term of:
Eighty-Five (85) Months on each of Counts 28s, 29s, 30s, 42s, 50s; Sixty (60) Months on Count 35s; Six (6) Months on Count
53s, all terms to run concurrently.

W| The court makes the following recommendations to the Bureau of Prisons:
- incarceration at: FMC Fort Worth - Federal Bureau of Prisons

W1 The defendant is remanded to the custody of the United States Marshal.

CO The defendant shall surrender to the United States Marshal for this district:

LC) at Clam. (1) pm. on

C1 as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

CJ before 2 p.m. on

C1 as notified by the United States Marshal.

C1 as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
Case 1:21-cr-00040-TNM Document 729 Filed 11/03/23 Page 4 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 4 of 3

DEFENDANT: STEVEN CAPPUCCIO
CASE NUMBER: 21-cr-40-8 (TNM)

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

Twenty-Four (24) Months on Counts 28s, 29s, 30s, 35s, 42s, 50s, to run concurrently.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
_ You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.
C The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4. M1 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
5. You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)

C1 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seg.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. C] You must participate in an approved program for domestic violence. (check if applicable)

NO

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
Case 1:21-cr-00040-TNM Document 729 Filed 11/03/23 Page 5 of 8

AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

Judgment—Page 5 of 8

DEFENDANT: STEVEN CAPPUCCIO
CASE NUMBER: 21-cr-40-8 (TNM)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
a from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time

tame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your superv ision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try fo find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12, If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

Ln

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

AO 245B (Rev. 09/19) 1GASE ditdsGhiQQ040-TNM Document 729 Filed 11/03/23 Page 6 of 8
Sheet 3D — Supervised Release

Judgment—Page 6 of 8

DEFENDANT: STEVEN CAPPUCCIO
CASE NUMBER: 21-cr-40-8 (TNM)

SPECIAL CONDITIONS OF SUPERVISION

Substance Abuse Testing - You must submit to substance abuse testing to determine if you have used a prohibited
substance, including marijuana. You must not attempt to obstruct or tamper with the testing methods.

Financial Information Disclosure - You must provide the probation officer access to any requested financial information and
authorize the release of any financial information. The probation office may share financial information with the United
States Attorney's Office.

Financial Restrictions - You must not incur new credit charges, or open additional lines of credit without the approval of the
probation officer.

Mental Health Treatment — Upon release from custody, you shall complete at least a six-month residential course at Camp
Hope, a residential treatment facility in Houston, Texas.

Location Monitoring — If Camp Hope is unavailable, you will be monitored by location monitoring technology for a period of
180 days, and you must follow the rules and regulations of the location monitoring program. The cost of the program is
waived. Location monitoring technology is at the discretion of the probation officer, including: Radio Frequency (RF)
Monitoring; GPS Monitoring (including hybrid GPS); SmartLINK; or Voice Recognition. This form of location
monitoring technology will be used to monitor the following restriction on your movement in the community: You are
restricted to your residence at all times except for employment; education; religious services; medical, substance abuse, or
mental health treatment; attorney visits; court appearances, court-ordered obligations; or other activities as pre-approved
by the officer (Home Detention).

Restitution Obligation - You are ordered to make restitution to an amount of $2000 to the Architect of the Capitol. You shall
pay the balance owed on any financial obligations at a rate of no less than $150 per month.

The Probation Office shall release the presentence investigation report to all appropriate agencies, which includes the
United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.
Treatment agencies shall return the presentence report to the Probation Office upon the defendant's completion or

termination from treatment.
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Sheet 5 — Criminal Monetary Penalties

Judgment — Page f of 8

DEFENDANT: STEVEN CAPPUCCIO
CASE NUMBER: 21-cr-40-8 (TNM)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 610.00 $ 2,000.00 $ 0.00 $ 0.00 $ 0.00
[The determination of restitution is deferred until _ An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
1. The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18U.S.C. § 36641 all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Clerk of the Court for the United States $2,000.00

District Court, District of Columbia
for disbursement to:

Architect of the Capitol

Office of the Chief Financial Officer
Ford House Office Building

Room H2-205B

Washington, DC 20515

TOTALS $ 0.00 $ 2,000.00

C1 Restitution amount ordered pursuant to plea agreement $

(1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Wi ‘The court determined that the defendant does not have the ability to pay interest and it is ordered that:
Wi the interest requirement is waived for the CO fine M restitution.

C1 the interest requirement forthe fine (1 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pomogrph Victim Assistance Act of 2018, Pub. L. No. 115-299.
*# Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. . .

*** Findings for the total amount 0 losses are requis under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 996,
AO 245B (Rev. 09/19) mnge BRA hihi QQO40- TNM Document 729 Filed 11/03/23 Page 8 of 8

Sheet 6 — Schedule of Payments

Judgment — Page 8 of 8

DEFENDANT: STEVEN CAPPUCCIO
CASE NUMBER: 21-cr-40-8 (TNM)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A WM Lumpsum payment of $ _610.00 due immediately, balance due

( not later than , or
Vi inaccordancewith 1] C, OD, OF E,or M F below; or

BC Payment to begin immediately (may be combined with OC, O1D,or [1] F below); or

C OC Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months. or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (C1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  &_ Special instructions regarding the payment of criminal monetary penalties:
The financial obligations are payable to the Clerk of the Court for the U.S. District Court, 333 Constitution Ave NW,
Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk of the Court of the
change until such time as the financial obligation is paid in full.

See page: SPECIAL CONDITIONS OF SUPERVISION.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[1 Joint and Several

Case Number .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

(The defendant shall pay the cost of prosecution.
[1 The defendant shall pay the following court cost(s):

C]_ The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, 2) restitution princival, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
